           Case 6:19-bk-04573-KSJ             Doc 37    Filed 10/07/19       Page 1 of 1



                                         ORDERED.


  Dated: October 07, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

In re:
                                                                           Case No.: 19-04573-KSJ
                                                                                         Chapter 7
MICHAEL T. SHEPARDSON


                       Debtor(s)          /

         ORDER AUTHORIZING EMPLOYMENT OF ATTORNEY NUNC PRO TUNC

          This matter came on for consideration of the application to employ Arvind Mahendru, as

attorney for the bankruptcy estate [Doc. No. 26]. Based upon the facts set forth in the application

and declaration by the proposed attorney, the court concludes that the attorney does not hold or

represent an interest adverse to the estate and is a disinterested person within the meaning of

Section 101(14) of the Bankruptcy Code. The court further concludes that the attorney is

qualified to represent the trustee and that the court's authorization of the attorney's employment is

in the best interest of the estate.

          Accordingly, the application is granted, and the court approves the employment of

Arvind Mahendru Nunc Pro Tunc to September 24, 2019. Compensation will be determined later

in accordance with the provisions of Section 330 of the Bankruptcy Code. The attorney’s hourly

rate is not guaranteed and is subject to review. No payment whatsoever shall be made to the

attorney absent application and order.

Trustee Arvind Mahendru is directed to serve a copy of this order on interested parties and file a
proof of service within 3 days of entry of the order.
